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                   IN THE UNITED STATES DISTRICT COURT FOR
                        THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

ALISA MCKENNA ROGERS,                          $
INDIVIDUALLY AND AS                            $
REPRESENTATIVE OF THE ESTATE                   $
OF ARREN JANELLE ROGERS,                       $
DECEASED                                       $
               Plaintift                       $
                                               $
VS                                             $   CIVI   ACTION NO.      3-21-CV-00013

                                               $
KIA MOTORS AMERICA, INC. AND                   $
SPLASHES CAR WASH, INC. D/B/A                  $
SPLASHES CARWASH AND LUBE                      $
CENTER NKIA SPLASHES OF                        $
SILVERLAKE                                     $
               Defendants.                     $


                             KIA MOTORS AMERICA. INC.'S
                                 NOTICE OF REMOVAL

TO UNITED STATES DISTRICT JUDGE JEFFREY V. BROWN:

         COMES NOW Kia Motors America ("KMA"), defendant in a cause styled: No.

110455-CY; Alisa McKenna Rogers, Indívídually and os Representatíve of the Estate          of
Arren Janelle Rogers, Deceased v. Kia Motors America, Inc. and Splashes Car Wash, Inc.

d/b/a Splashes Carwash and Lube Center a/k/a Splashes of Sílverlake.; inthe239thDistrict

Court, Brazoria County, Texas and, pursuant to the terms and provisions of 28 U.S.C. $$

AaI@)     and 1446(b), hereby files this Notice of Removal of said cause to the United States




                                              I
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District Court for
District Court for the Southern District of
                       Southern District           Galveston Division.
                                         of Texas, Galveston           As grounds
                                                             Division. As         for
                                                                          grounds for

removal, KMA
removal, KMA respectfully
             respectfully shows     Court as follows:l
                          shows the Court    follows:'

                                        L
                                        I.
                                                     REMOVAL
                    NATURE OF THE CASE AND BASIS FOR REMOVAL
                    NATURE

         Plaintiff originally                                13, 2020
                   originally filed this lawsuit on November 13,       in Brazoria
                                                                 2020 in  Brazoria County
                                                                                   County

                       Defendants KMA
District Court against Defendants KMA and Splashes
                                          Splashes Car Wash, Inc. d/b/a
                                                       Wash, Inc. dlblaSplashes
                                                                        Splashes

Carwash
Carwash and Lube Center a/k/a Splashes of Silverlake ("Splashes"¡.2
                        alVaSplashes                                Plaintiff alleges
                                                     ("Splashes").2 Plaintiff alleges that

            decedent, Arren Janelle Rogers, was operating
Plaintiffls decedent,
Plaintiff's                                               a 2008
                                                operating a      Kia Spectra
                                                            2008 Kia          (VIN#
                                                                      Spectra(VIN#

KNAFE122985577654)
KNAFEI2298557765a) (the
                   (the "Subject
                        "subject Vehicle")
                                 Vehicle") on
                                           on June
                                              June16, 2019 on
                                                   16,2019 on FM 2234 in Missouri

      Texas.3Plaintiff
City, Texas.3 Plaintifffurther
                        furtheralleges
                                allegesArren  lostcontrol
                                       Arren lost          of the
                                                   control of  the Subject Vehicle, struck
                                                                   Subject Vehicle, struck a

barricade,       struck two
            then struck
barricade, then          two other
                             other vehicles.a
                                   vehicles.' According  to the
                                              According to   theCrash
                                                                Crash Report,  the Subject
                                                                      Report, the  Subject

Vehicle ("unit one") actually struck
                              struck two separate barricades
                                                  barricades before colliding with the other

vehicles.5

                                            Investigator's
                                            lnveetigator's Narrative Opinion of
                                                           Nanative Opinim     of Wh¿t
                                                                                  Whet Happened
                                                  (Attach  AdditionalShoots
                                                  {Attach Additionsl  Sheets ifIfNccôseary)
                                                                                 Necessary)
                    Drivêr of
                    Driver       unlt two
                             of unit            statedshe
                                         tr¡o stated       shewas       travelingeast
                                                                 r¡astraveling           eastononFM    2234 near
                                                                                                   E}f2234   r¡ear
                    Möffi¡t road
                    Moffitt   road when
                                      r¡hen chê      observedunit
                                               she observed         unit one
                                                                           one aheadaheadof  of her
                                                                                                her travêIl-nE
                                                                                                    traveling
                    west.  Drivêr of
                    Ìr€st. Driver          unit two
                                      of unit      two stated
                                                          sÈatedshe       où}sêrvêd unit
                                                                     shê observed                one lose
                                                                                          unit one
                    control   and st¡Ike
                    sontrol and      strike the the barricade
                                                      þarrLcade on    on the
                                                                           the Êouthsouth õide    of the
                                                                                            side of   theroad
                                                                                                           road
                    then strike
                    then  strike the      barricade on
                                     the barricade          on the
                                                                 the north
                                                                       northside   side of
                                                                                         of the   road. Driver
                                                                                             the road.     Driver
                    of unit
                    of  unlt two     statedafter
                              t\,{o stated      afterstriking
                                                          strilci¡tgboth          bäfficädêsunit
                                                                       þothbarricades            unitone
                                                                                                       onecame
                                                                                                            ca¡e
                    into her
                    into  hcr lane      gideswiping
                                J-ane side      swiping her  Ì¡er velrj.cle
                                                                   vehicle causingcausing'hêrher to   Io3ë
                                                                                                  to lose
                    êontrol of
                    control   of her
                                   hêr vehicle.Driver
                                         uêhriclê.Drj"ver of      of unit
                                                                      unit threethreestated
                                                                                         statedhe hawas
                                                                                                      vag
                    travêIlng east
                    traveling     eastononFM  t}l 2234             ¡doffitt when
                                                           near Moffitt
                                                   2234 near                                 heard aa êolJ-1Éion
                                                                                         he heard
                                                                                  ¡¡hen he              collision
                    al¡ead but
                    ahead  but d,ld     not see
                                  did not     see it1!do  doto toheavy      rain. Driver
                                                                   heawy rain.         Ð¡lver of of unit
                                                                                                    u¡r1t three
                                                                                                           Èhreê
                            after hearing
                    stated after
                    stated            hearlng the  the collision
                                                          co]..llsionheheobserved
                                                                                observedunit unit one    spinning
                                                                                                   onespinning
                    out of
                    out      cont.rol in
                         of control           f,ront of
                                         .!n front      ofhimhi¡r causing
                                                                   causing the     the collision.
                                                                                        collision.




1I KMA
   KMA     attaches as
                     as Exhibit
                        Exhibit A
                                A to this
                                     this Notice of
                                                 of Removal
                                                    Removal its
                                                              its Index of
                                                                        of Matters
                                                                           Matters Being
                                                                                      Being Filed
                                                                                              Filed that includes the docket
                                                                                                                      docket sheet
of the underlying state court action and all pleadings,
                                                 pleadings, motions       orders filed
                                                            motions and orders     filed in
                                                                                         in the
                                                                                            the state  court action.
                                                                                                 state court action. A copy of the
Certificate
  Certificate of Interested
                  Interested Persons and
                                      and Rule
                                           Rule 7.1
                                                7.1 Disclosure
                                                     Disclosure Statement
                                                                 Statement is
                                                                            is attached
                                                                               attached as   Exhibit B.
                                                                                          as Exhibit
  2
    Ex. A-2.
2 Ex.     A-2.
 3t Id.,
    |d.,ffi4.1-4.4
         1114.1 — 4.4
4|d.,14.4.
    Id.,¶ 4.4.
5s Ex.
    Ex. C. (Crash
            (Crash Report).

                                                                  2
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Arren died as a result of accident.6

                    asserts product liability claims against KMA for
          Plaintiff asserts                                              alleged wrongful death
                                                                 for the alleged

   Arren.7 These
ofArren.T
of         These includes
                  includes claims
                           claims sounding
                                  sounding in
                                           in strict liability, negligence, misrepresentation,
                                                                negligence, misrepresentation,

and breach of warranty. Plaintiff seeks
              warranty. Plaintiff              damages.sInInaddition,
                                        actual damages.'
                                  seeks actual                         Plaintiff seeks
                                                             addition,Plaintiff   seeks


exemplary damages alleging that KMA acted with malice and was grossly negligent.9
exemplary                                                             negligent.e

                                                       KMA filed
                                               2020.10 KMA
                                           23,2020.10
          Plaintiff served KMA on December 23,              filed its  Original Answer
                                                                   its Original Answer in

state court on January 19, 2021.11
                       19,2021.r1

                    for removal
          The basis for removal is diversity jurisdiction.
                                is diversity jurisdiction. The only ground
                                                           Theonly          fordefeating
                                                                     groundfor  defeating

diversity jurisdiction
diversity  jurisdiction is
                         is the  presence of
                             the presence of Splashes,
                                             Splashes,aaTexas
                                                         Texascorporation.l2 As shown
                                                               corporation.' As  shown below,
                                                                                       below,

                                                                          ooforum
          improperly joined Splashes, and
Plaintiff improperly                  and removal is not precluded by the "forum defendant
                                                                                  defendant

ruIe." There
rule." Thereisis complete
                 complete diversity
                          diversity between Plaintiff and
                                    between Plaintiff and the
                                                           the only properly joined defendant
                                                               only properly

_KMA.
— KMA.

          KMA timely removes this case                of itit being served.
                                  case within 30 days of            served.

          Pursuant
          Pursuant to 28 U.S.C. §$ 1441,
                                   1441, KMA removes this action
                                                          action to the District Court of the

United States for the district and division embracing the county
                                                          county where this state court action

is pending.
   pending.

          KMA will serve written notice of the removal on Plaintiff and a copy will be filed
                                                       on Plaintiff

with the Brazoria County District Clerk promptly after this Notice of Removal is filed.



6
6 /d
  Id.
7
  Ex. A-2,   In 5.1 -- 5.18.
       A-2,T!T5.l
t Id.,
  td.,ffi5.l
       VI 5.1-5.15.
               -5.15.
n
  \d.,ffi 5.16
9 /d.,    5.16 -- 5.17.
                  5.17.
ro
10 Ex. A-7.
rr Ex. A-8.
11 Ex.
12
        A-2,1¶ 1.3
12 Ex. A-2,     1.3


                                                3J
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                       properly removed
          This case is properly removed to this Court
                                                Court pursuant to28
                                                      pursuant to 28 U.S.C. §§
                                                                            $$ 1332,
                                                                               1332, 1441,
                                                                                     1441,

and 1446 because KMA satisfied
and 1446             satisfied the procedural  requirementsfor
                                   procedural requirements  forremoval.
                                                                removal. And as
                                                                             as


demonstrated
demonstrated below, this Court
                         Court has subject matter jurisdiction
                                   subject matter                        diversity action in
                                                  jurisdiction over this diversity

                 in controversy
which the amount in controversy exceeds the sum of $75,000, exclusive of costs and
                                                   S75,000, exclusive          and

                       properly joined parties are citizens of different states.
interest, and the only properly                                          states.

                                           il.
                                          II.
                                DIVERSITY JURISDICTION

          In support of this Notice, KMA shows that because: (1) the amount in controversy
                                                                               controversy

exceeds $75,000.00,' and
exceeds $75,000.00,13      (2) Plaintiff
                      and (2)  Plaintiff and KMA are
                                         and KMA arc citizens  of different
                                                      citizens of different states,
                                                                            states, there is

         diversityof
complete diversity
complete           of citizenship.la Thus,removal
                      citizenship." Thus,           isproper
                                           removal is  properbecause   thediversity
                                                              because the  diversity

requirements are met,
requirements are met, this removal                 thirty (30) days of receiving service
                           removal is filed within thirfy                        service of

                                                    action was originally commenced. See 28
                                one year since this action
suit, and it has been less than one

u.S.C. §$ 1446(b)-(c).
U.S.C.    1aa6@)-(c).

          A.
          A.       The amount in controversy exceeds $75,000.
                                                     $75'000.

          In her petition, Plaintiff does not allege a specific amount of monetary
                                                                          monetary relief she is

        - ininviolation
seeking —      violationof
                         ofTexas
                            TexasRule of Civil
                                 Rule of Civil Procedure
                                               Procedure 47(c).15
                                                         47(c).ts Nevertheless,
                                                                  Nevertheless, the
                                                                                the amount
                                                                                    amount

in controversy
   controversy exceeds the $75,000 threshold     diversity jurisdiction
                                   threshold for diversity jurisdiction for three reasons.
                                                                                  reasons.

                       Case Information Sheet Plaintiff
         First, in the Case                   Plaintiff'ss counsel filed along with Plaintiff ss
                                                           counsel filed

petition, he acknowledged
petition,                      Plaintiff was seeking damages in excess of $1 million.16
             acknowtedged that Plaintiff




13
13 See Section II(A),
               ll(1+), infra.
ra
14             ll(B), infra.
   See Section II(B),
rs
15 Ex. A-2.
16
16 Ex. A-3


                                                4
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                   d.Indicate
                   4.  Indicrtc damages sought (do not              selea Irk&iba
                                                                twts¿tæ,              a Jcvnily law case):
                    ['Less
                        [-essthan
                               than$100.000, including
                                                     includingdamages
                                                                 damages orany         kind, :penalties, cost
                                                                                  an¡,ki                 cÕst
                    0ÜLess
                       Less than
                               than $100,000
                                       $ I ütl-ü|}ü and
                                                    nnd non-monetary
                                                         non-monetår)' reliefrçl iet'
                     flt h'cr$100,
                    Dover       iii 1t)û,000
                                          {XX}hut
                                                hutnot
                                                    RÕtmore
                                                        msre than
                                                              than $200,000
                                                                     $?üÛ,Üüt}
                        Over $200.000
                                $3tX).llÐt¡ but notnrlt more
                                                        mçrc than
                                                             tl'ran $1,000,000
                                                                    Íi I ,{it]{:,tüti
                        Ovcr $1,000.000
                        Over    li 1.0{lü




           Second, Plaintiff
           Second,           asserts aa claim for the
                   Plaintiff asserts                  wrongful death
                                                  the wrongful death of Arren.l7
                                                                     of Arren.' 7 Courts
                                                                                   Courts

consistently hold that aapetition
                         petition facially meets     amount in
                                           meets the amount in controversy requirement when
                                                               controversy requirement

it asserts a claim for wrongful death.

                          whether Plaintiff
           In determining whether Plaintiff'ss claims exceed the jurisdictional amount, the test
                                               claims exceed

is "whether the amount of the claim will more likely than not" exceed
                                         more likely                  S75,000. White
                                                               exceed $75,000. l4¡híte v.
                                                                                       v

    USA, lnc.,319
FCI USA, Inc., 319 F.3d 672, 675 (5th Cir. 2003). A defendant
                                           2003). A           may carry
                                                    defendant may        its burden
                                                                   carry its burden by

showing
showing that it is facially                   petition that plaintiff
                   facially apparent from the petition      plaintiff'ss claims are likely to

                     presenting summary
exceed $75,000 or by presenting                                that the amount in
                                                      evidence that
                                summary judgment-type evidence

controversy                     $75,000. Gebbia
controversy is likely to exceed $75,000. Gebbìa v. Wal-Mart         lnc.,233
                                                   Wal-Mart Stores, Inc., 233 F.3d 880,
                                                                                   880,

    (5thCir.
883 (5th Cir. 1998).
              1998).

           The Fifth Circuit has repeatedly found
                                            found that it is facially apparent that the amount in

controversy                                                                   claim
controversy standard is satisfied when the plaintiff asserts a wrongful death claim.

                        conclude that it
                    We conclude           it isisfacially                thøteach
                                                             øpparent that
                                                  facíallyapparent                     plaíntíffs
                                                                               each plaintiff's
                    wrondul death claim
                    wrongful            cløim satisfies
                                                  satisjies the     omountinincontroversy
                                                              lheamount              controversy
                    requirement. In the
                    requirement.       the complaint,          plaintifß, the children
                                            complaint, the plaintiffs,                       Mr.
                                                                               children of Mr.
                    Menendez,
                    Menendez, seek damages for    for their  personal injuries,
                                                      their personal              including their
                                                                       injuries, including
                    mental pain and suffering, sustained
                                                   sustained as                Mr. Menendez's
                                                               as a result of Mr.    Menendez's
                    death. Further, plaintiff Adelfa Mancillas de Menendez,
                                                                        Menendez, the wife of
                         Menendez, seeks damages
                    Mr. Menendez,               damages for      lossofofcompanionship
                                                            for loss       companionship and  and

t7 Ex.
17 Ex.   A-2,ffi7.3 -7,4
         A-2,1117.3 - 7.4.

                                                             5
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                 consortium. These allegations,  taken on their face, establish
                                    allegations, taken                  establish that the
                         in controversy
                 amount in  controversy requirement
                                         requirement isis satisfied.
                                                           satisfied. See De    Aguilar v.
                                                                          De Aguilar     v.
                             11 F.3d 55,
                 Boeing Co., 11          57 (5th Cir.1993) (holding that, based on the
                                      55,57
                      of the
                 face of  thecomplaint,
                              complainf, the   plaintiffs' claims
                                          theplaintiffs'    claimsforforwrongful
                                                                         wrongfuldeathdeath
                 exceeded the $50,000 amount in controversy
                                                   controversy threshold) .. .. .. ..

         v. Wal-Mart
Menendez v.
Menendez                     lnc.,364
            Wal-Mart Stores, Inc.,          Appx.62,67
                                   364 Fed. Appx.         (5thCir.
                                                  62, 67 (5th Cir. 2010)
                                                                    2010)(emphasis
                                                                          (emphasis

                                                                                   *3
                               Target Corp., CIV.A. H-08-1786, 2008 WL 3049896, at *3
added); see Fire Ins. Exch. v. Target

                   2008) ("Willis's Initial
(S.D. Tex. Aug. 1, 2008)            Initiat Pleading asserting negligence, products liability,

and wrongful death causes of action arising from a substantial fire in her home, along with

the extensive list of actual and exemplary
                                 exemplary damages she is seeking, affirmatively reveals on

its face that the amount
                  amount in
                         in controversy is substantially
                            controversy is substantially in excess of $75,000.");
                                                                      $75,000."); Brown v.

James Constr. Group L.L.C.,
                    L.L,C., 3:19-CV-01060, 2019 WL 6652097,
                            3:19-CV-01060, 2019                *2 (W.D. La. Nov.
                                                   6652097, at *2           Nov.

20,2019),
20,        report and
    2019), report andrecommendation
                      recommendation adopted,                     WL 6652400
                                     adopted, 3:19-CV-01060, 2019 WL  6652400

(W.D. La. Dec. 5,2019)
          Dec. 5,        ("Plaintiff is
                  2019) ("Plaintiff   is seeking
                                          seeking recovery  for wrongful
                                                   recovery for wrongful death
                                                                         death and
                                                                               and survival
                                                                                   survival

damages, and therefore, it is manifest that the amount
                                                amount in
                                                       in controversy
                                                          controversy exceeded
                                                                      exceeded $75,000 at

the time of removal.").
            removal.").

          Plaintiff sues for wrongful
                             wrongful death
                                      death damages
                                            damages (and
                                                     (and survival
                                                          survivaldamages).18
                                                                   damages)." Accordingly,
                                                                              Accordingly,

it is facially apparent that the amount in controversy
                                           controversy exceeds $75,000.

          Third, Plaintiff
          Third, Plaintiff asserts   claim for
                           assertsaa claim  for exemplary
                                                exemplarydamages.re Plaintiff s claim
                                                          damages.' Plaintiffs   claim for
                                                                                        for

exemplary damages, standing alone, puts the amount
                                            amount in controversy
                                                      controversy in
                                                                  in excess of $75,000.
                                                                               $75,000.

Punitive damages are included to reach the
                                       the amount
                                           amount in
                                                  in controversy
                                                     controversy requirement
                                                                 requirement if, "under

the governing law of the suit, they are recoverable."
                                        recoverable." Bell v. Preferred      Assur. Soc. of
                                                                        Life Assur.
                                                              Preferred Life             of



r8 Ex.
18     A-2,fn7.2-7.4.
   Ex. A-2,1117.2 — 7.4.
'n Id.,15.16
   Id.,¶5.16 and "Prayer".
                  "Prayer"

                                                 6
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                           238 (1943); Dow Agrosciences LLC v. Bates, 332 F.3d
Montgomery, Ala., 320 U.S. 238
Montgomery,                                                               F .3d 323,


326 (sthCir.
326 (5th Cir. 2003); St. Paut Reinsurance Co., Ltd. v. Greenberg, 134
                     St. Paul                                              1250,12fi
                                                                  134 F.3d 1250,      (5rh
                                                                                 1253 (5th

Cir. 1998).
     1998). Courts
            Courts in
                    in the
                        the Southern
                            Southern District
                                     District have
                                              have repeatedly
                                                   repeatedly held
                                                              held that even
                                                                        even when the amount

of exemplary damages is unspecified,
                        unspecified, the request for such              effectively raise
                                                     such damages will effectively

the amount
the         incontroversy
    amount in  controversy above
                           above $75,000
                                 $75,000 because the applicable
                                         because the  applicable statutory
                                                                 statutory cap on
                                                                               on

exemplary         (Tex. CIV.
exemplary damages (TEx.      Pnec. & REM
                        Cry. PRAC.        Con¡, §$ 41.008) allows for an award greater
                                     RBvr CODE

than $75,000.
     $75,000.

                 Moreover, Plaintifß
                 Moreover,       Plaintiffs are          exemplarydamages.
                                                seeking exemplary
                                            are seeking               damages. . . . Such
                                                                                        Such
                 damages are certainly
                                  certainly recoverable under Plaintiffs' fraud
                                            recoverable under                     claim. See
                                                                          fraud claim.
                                                     a1.003(a)(l). Plaintiffs could receive
                 Tex. Civ. Prac. & Rem. Code §$ 41.003(a)(1).
                     to two
                 up to   two times    the amount
                               times the           ofeconomic
                                           amount of  economic damages     plus an
                                                                 damages plus     an amount
                                                                                      amount
                 equal to to any
                              anynoneconomic
                                   noneconomic damages
                                                  damages not to  toexceed
                                                                     exceed $750,000;
                                                                              $750,000; or or
                 $200,000,
                 $200,000, whichever
                               whichever is greater. See Tex. Civ. Prac. & Rem. Code §$
                 41.008(b)(1).
                 41.00S(b)(1). Therefore,
                                  Therefore, for the reasons stated above, the Court
                                                                                 Court finds
                            "facially apparent" from Plaintiffs' Amended Petition
                 that it is "facially                                       Petition that the
                 amount in controversy
                               controversy is more than $75,000.
                                                         $75,000.

Guerrero v.
         v. GM_AC Mortgage, LLC, CV L-09-0098, 2010 WL 11652371,
            GMAC Mortgage,                                       at*4
                                                       11652371, at *4 (S.D. Tex.

Dec. 3, 2010),
        2010), report and recommendation
                          recommendation adopted, 2011 WL 13324465
                                         adopted,2011     13324465 (S.D.
                                                                   (S.D. Tex. Nov.

30, 2011); see List
30,2011);      Líst v. PlazAmericas
                       PlazAmericas Mall Tex.,         H-l8-4810, 2019
                                         Tex., LLC, CV H-18-4810, 2019 WL 480130, at

*2 (S.D. Tex. Feb. 7,
*2                 7,2019)
                      2019) (same);                     Lloyds,l:15-CV-20
                            (same); Jasso v. State Farm Lloyds, 1:15-CV-203,      WL
                                                                          3, 2015 WL

13674737,     83 (S.D. Tex. Dec. 31,
13674737 , at *3                     2015), report and recommendation
                                 3 1,2015),            recommendation adopted, 2016 WL
                                                                      adopted,2O16

10788075
10788075 (S.D. Tex. Jan.
                    Jan. 19, 2016) (same); White
                         19,2016)                   Safeco Ins. Co. of Indíana,
                                           Whíte v. Safeco             Indiana, CV H-10-

4063,      V/L 13254063,
      2011 WL
4063,2011                   *4 (S.D. Tex. Feb. 7,
               13254063, at *4                 7, 2011) (same).

                Plaintiff s claim
          Given Plaintiff's claim for
                                   for wrongful
                                       wrongful death
                                                death and
                                                      and request
                                                          request for
                                                                  for exemplary
                                                                      exemplary damages,
                                                                                damages, it is

facially apparent
         apparent that the amount in controversy exceeds $75,000.




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             B.
             B.          There is complete diversity of citizenship.

             Plaintiff alleges she
             Plaintiff alleges      residesininHouston,
                               she resides      Houston,Texas.20
                                                         Texas.'

             Plaintiff does not specifically
             Plaintiff                       allege the citizenship
                                specifically allege                 of KMA in her
                                                        citizenship of            petition but
                                                                              her petition

concedes           foreign company."21
concedes it "is aa foreign             KMArepresents
                           company."2lKMA              thatititisisaacorporation
                                           represents that            corporation organized
                                                                                   organized

under the laws of the
                  the State of California,
                      State of                       principal place
                                                 its principal
                               California, with its                  of business
                                                               place of           in Irvine,
                                                                        business in  lrvine,

California.
California.

                       Splashes "is
             Plaintiff Splashes
             Plaintiff           "is a
                                     a company authorizedto
                                       company authorized to do business"in
                                                             do business"    Texas. . . .5522
                                                                          in Texas.

Splashes is a corporation organized
Splashes                            underthe
                          organized under      laws of
                                          the laws  of the  State of
                                                        the State of Texas. However, as
                                                                     Texas. However, as


shown below, Splashes
             Splashes is  improperly joined and,
                      is improperly         and, consequently,     citizenship is not
                                                 consequently, its citizenship    not

considered for purposes of assessing diversity jurisdiction.
                           assessing diversity jurisdiction.

                         1.
                         1.                                joinder.
                                                  improper joinder.
                                 The standard for improper

             In Smallwood, the Fifth Circuit
                           the Fifth Circuit reaffirmed
                                             reaffirmed the  two ways
                                                        the two        toestablish
                                                                 ways to  establishimproper
                                                                                    improper

joinder, including:
         including:

                         "(l) actual
                         "(1) actual fraud
                                     fraud in
                                            in the pleading ofofjurisdictional
                                                                 jurisdictional facts,
                                                                                   facts, or (2) inability
                                          to establish
                         of the plaintiff to  establish aa cause
                                                           cause ofof action
                                                                       action against
                                                                                against the
                                                                                        the non-diverse
                                                                                             non-diverse
                                        court." Only
                         party in state court."  Only the
                                                        the second
                                                             second way
                                                                      way isis before
                                                                               before us
                                                                                       us today,
                                                                                           today, and
                                                                                                   and we
                         explained inin  Travis  v.  Irby
                                                    Irby   that  the test for fraudulent
                                                                 the  test for   fraudulent    joinder   is
                                                                                                         is
                         whether the defendant has demonstrated that there is no        no possibility of
                         recovery by the plaintiff against
                                                       against an
                                                                an in-state
                                                                    in-state defendant,     which stated
                                                                               defendant, which     stated
                         differently means
                         differently  means that there is no reasonable
                                                                   reasonøble basis           the district
                                                                                   basis for the   district
                         court to predict that the plaintiff might be able  able to recover
                                                                                     recover against
                                                                                               against an
                                  defendant. To reduce
                         in-state defendant.                               confasion, we adopt
                                                      reduce possible confusion,               ødopt this
                                                                                                      this
                         phrøsing
                         phrasing of the     reqaired proof and
                                        the required            ønd reject     all others,
                                                                      reject all   others, whether the
                         others appear
                                 appear to describe
                                           describe the same standard or not.


20
20   Ex. A-2, ¶1¡ 1.1,
                  1.1
21   ld.,ll.2.
2t Id.,    ¶ 1.2.
22
22   Id.,l1.3.
     Id., IR 1.3.

                                                             8
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Smallwood v. Itt.
Smallwood               R. Co.,
             Ill. Cent. R. Co.,385  F.3d 568,
                                385 F.3d 568, 573 (5th Cir.
                                              573 (5th Cir. 2004)     banc) (emphasis
                                                            2004) (en banc) (emphasis

added); see Probasco v. Wal-Mart
            Probasco v. Wal-Mart Stores Texas, L.L.C.,766
                                        Texos, L.L.C.,                34,36
                                                       766 Fed. Appx. 34, 36 (5th Cir.

2019) (citing same); Travis v. Irby,326F
2019)                          Irby, 326 F.3d
                                          .3d 644,
                                              644, 647 (5th Cir. 2003).
                                                   647 (5th      2003).

           Under the second
                     second prong, the
                                   the standard is whether
                                       standard is whether the
                                                            the defendant
                                                                defendant has
                                                                          has demonstrated
                                                                              demonstrated

that there is
           is no reasonable basis to predict that the plaintiff might be able to recover against

the in-state defendant.  "[A] removing
             defendant. "[A]   removing defendant
                                        defendant [need
                                                   [need not
                                                         not demonstrate an absence of any
                                                             demonstrate an

possibilíty
possibility of recovery in state court] .. . . the defendant must demonstrate
                                                                  demonstrate only that there is

              basis for predicting
no reasonable basis                                                         court." Gray ex
                        predicting that the plaintiff will recover in state court."

     Ruddv.v.Beverly
rel. Rudd     BeverlyEnterprises-Mississippi,  Inc., 390
                      Enterprises-Missíssippi, Inc.,     F.3d 400,
                                                     390 F.3d 400, 405  (5th Cir.
                                                                   405 (5th  Cir. 2004)
                                                                                  2004)

             original). AA"mere
(emphasis in original).    "meretheoretical  possibility of
                                 theoretical possibility of recovery
                                                             recovery under
                                                                      under local law" will
                                                                            local law"

not preclude a finding
               f,rnding of improper   oinder. Badon v.
                           improper jjoinder.       v. RJR
                                                       RJR Nabisco, Inc., 236 F.3d
                                                                              F .3 d 282, 286
                                                                                          286

n. 4 (5th Cir. 2000);
     (5th Cir. 2000); Ross v. Citifinancial, Inc., 344 F.3d
                              Cítffinancial, Inc.,344  F .3d 458,
                                                             458, 462 (5th Cir. 2003); Campbell
                                                                                       Campbell

v. Stone Ins., Inc.,
               1nc.,509  F.3d 665,
                     509 F.3d 665, 669
                                   669 (5th Cir. 2007)               Ross).'
                                                 2007) (same, citing .Ross).23

           To determine whether there is a reasonable
                                           reasonable basis to recover
                                                               recover under state
                                                                             state law,
                                                                                   law, under

                            Circuit outlined
the second prong, the Fifth Circuit outlined two separate methods.
                                                          methods.

                     There has
                             has also
                                 also been
                                       been some
                                             some uncertainty
                                                    uncertainty over
                                                                   over the  proper means
                                                                        the proper      means for
                                                                                               for
                     predicting whether aa plaintiff has a reasonable basis of recovery under
                           law. A court may
                     state law.         møy resolve the issue in in one
                                                                    one of two ways.
                                                                               tl)øys. The court
                                            l2(bX6)-type analysis,
                                      Rule12(b)(6)-type
                     may conduct aa Rule                                         initially at the
                                                             analysis, looking initially
                     allegations of the complaint
                                        complaint to determine whether the complaint states
                     a claim under state law against
                                               against the in-state  defendant. .. .. . That
                                                            in-state defendant.         That said,
                                                                                             said,

23 In
    In considering                plaintiff has
23     considering whether
                       whether aa plaintiff has aa reasonable
                                                    reasonable basis    for recovery
                                                                 basis for   recovery on  on at
                                                                                              at least
                                                                                                  least one
                                                                                                        one claim
                                                                                                               claim under
                                                                                                                      under state
                                                                                                                             state law,
                                                                                                                                   law, the
                                                                                                                                         the
district
district court is
                is limited
                   limited to the causes ofof action
                                              action and
                                                      and allegations
                                                           allegations asserted
                                                                        asserted inin the
                                                                                       the petition
                                                                                           petition onon file
                                                                                                          file at
                                                                                                               at the time of the removal.
See Rubin
     Rubinv.v. DaimlerChrysler Corp., Civ. Action Action No. H-04-4021,
                                                               H-04-4021,2005 2005 WLWL 1214605,
                                                                                           1214605, at     *2 (S.D. Tex. May 20,
                                                                                                        at *2                        2005).
                                                                                                                                 20,2005).
"Post-removal
"Post-removal filings
                   filings may
                           may not
                                not be
                                     be considered,
                                        considered, however,
                                                       however, when or  or to
                                                                             to the
                                                                                 the extent
                                                                                      extent that
                                                                                              that they
                                                                                                     they present
                                                                                                           present new
                                                                                                                     new causes
                                                                                                                          causes of action
                                                                                                                                      action
or theories not raised in the controlling petition
                                               petition filed    state court."
                                                        fìled in state  court." Griggs v. State Farm Lloyds,   Lloyds, 181
                                                                                                                        181 F.3d 694,   700
                                                                                                                                   694,700
(5thCir.
(5th       1999);seeAlonsoexrel.EstateofCøglev
     Cir. 1999);    see Alonso ex rel. Estate of Cagle v..MaytagCorp.,356
                                                              Maytag Corp., 356 F.Supp.2d            757, 761 (S.D. Tex. 2005) (noting
                                                                                       F.Supp.2d757,761(S.D.Tex.2005)(noting
that although
     although court
                 court may
                         may consider
                             consider post-removal
                                       post-removal evidence,
                                                        evidence, itit may
                                                                       may not
                                                                            not consider
                                                                                  consider new
                                                                                             new theories
                                                                                                    theories oror causes
                                                                                                                  causes of
                                                                                                                          of action).
                                                                                                                             action).


                                                                     9
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                there are
                      are cases,
                           cases, hopefully few in number, in which        plaintiff has
                                                                 which aa plaintiff  has
                stated a claim, but has misstated or omitted discrete
                                                              discrete facts that would
                determine the propriety of joinder. In such cases,
                determine                                      cases, the
                                                                      the district
                                                                          district court
                                                                                   court
                may, in its
                         ils discretion,        the pleadings and conduct a
                             discretion, pierce the                         ø summary
                                                                              sammøry
                inquiry.
                inquiry.

Smallwood,
Smallwood,385                                KMA briefly
           385 F.3d at 573 (emphasis added). KMA briefly discusses
                                                         discusses the
                                                                   the standards for
                                                                       standards for

each method.

                       a.
                       a.     Improper
                              Improper joinder based on a Rule 12(b)(6)
                                                               12(bX6) analysis.

         When considering
         When                       joinder, federal
                           improper joinder,
               considering improper           federalpleadings
                                                      pleadingsstandards
                                                                standardsapply.
                                                                          apply.

International
Internatíonal Energy Ventures
                     Ventures Mgmt., L.L.C. v. United
                                               United Energy   Group, Ltd.,8l8
                                                      Energl,t Group, Ltd., 818 F.3d 193,
                                                                                     193,

208 (5th Cir.
20S (5th Cir. 2016); Bermudez v.
              2016); Bermudez    Indem. Ins.
                              v. Indem.             N. Am.,
                                        Ins. Co. of N. Am., 4:20-CV-538, 2020 WL
                                                                              WL

6202678,    *2 (E.D.
6202678, at *2 (8.D. Tex. Oct. 22,                  Allstate Vehicle
                                   2020); Holmes v. Allstate
                               22,2020);                     Vehícle & Prop. Ins. Co.,
                                                                                  Co.,

1:19-CV-00420, 2020 WL 6791514,
1:19-CV-00420,2020                 *4 (E.D.
                       6791514, at *4                  8,2020).
                                      (E,.D. Tex. Jan. 8,                and lqbal
                                                          2020). Twombly and Iqbal

provide the parameters
            parameters for federal pleading standards.

         First, the district court should identiff and disregard "pleadings
                                   should identify               "pleadings that, because they

are no more
       more than
            than conclusions, are not entitled
                                      entitled to the assumption oftruth."
                                               to the            of truth." Ashcroftv.
                                                                            Ashcroft v. Iqbal,

556 U.S. 662, 679 (2009);
         662,679  (2009); see Bell
                              Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
                                                                   544,555  (2007) (stating

"a plaintiff s obligation
"a plaintiff's obligation to provide the 'grounds'  of his
                                          'grounds' of  his`entitle[ment]     relief requires
                                                            'entitle[ment] to relief' requires

more than labels and conclusions,
                     conclusions, and a formulaic
                                        formulaic recitation of the elements
                                                                    elements of a cause of

action will
       will not do"); see also
                          also Rios
                               Ríos v. City
                                       City of
                                            of Del Rio,
                                                   Rio, 444
                                                        444 F.3d
                                                            F .3d 417,
                                                                  417 , 420-21
                                                                        420-21 (5th Cir. 2006)

(explaining that pleadings must contain either direct allegations
(explaining                                           allegations on
                                                                  on every
                                                                     every material
                                                                           material point
                                                                                    point

necessary to sustain a recovery or
                                or else
                                   else contain
                                        contain allegations
                                                allegations from
                                                            from which
                                                                 which an
                                                                       an inference
                                                                          inference fairly
                                                                                    fairly

may be drawn that sufficient
                  sufficient evidence
                             evidence will be introduced
                                              introduced at trial);
                                                            trial); see Cook v. City of Tyler,
                                                                        Cookv.

402 F.Supp.3d
    F.Supp.3d 339, 341 (E.D. Tex. 2019), appeal dismissed sub nom.,
                                                              nom.,974
                                                                    974 F.3d 537 (5th

                                               10
                                               Io
 t6t's4
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Cir. 2020) (stating
Cir.2020)  (stating "[c]onclusory allegations
                                  allegations or legal conclusions masquerading as factual
                                                                                as factual

conclusions will not suffice to prevent
                     suffice to prevent aa motion    dismiss"); see Collins
                                                  to dismiss");
                                           motion to                Collíns v. Morgan
                                                                               Morgan Stanley

             224 F.3d 496,
     Wítter,224F.3d
Dean Witter,               498 (5th Cir.
                      496,498            2000) ("In order to avoid dismissal for failure to
                                    Cir. 2000)

state aaclaim,             plaíntiff must
                however, a plaintiff
         claim,however,                   plead specific
                                     must plead  specffic facts, notmere
                                                          facts,not  mereconclusory
                                                                          conclusory

ollegøtions. We
allegations.     will thus
             V/e will       notaccept
                       thus not acceptas   trueconclusory
                                       astrue   conclusoryallegations   orunwarranted
                                                           allegations or  unwarranted

deductions of fact.").
deductions of fact."). Stated
                       Stated simply, "ft]hreadbare recitals of the elements of a cause of
                              simply, "[t]hreadbare

action, supported by mere
                     mere conclusory statements,        suffice." Iqbal,556
                                                 do not sufftce."
                                     statements, do               Iqbal, 556 U.S. at 678.
                                                                                  at678.

               the district
         Next, the          court "consider[s]
                   district court               the factual
                                   "consider[s] the  factual allegations in [the
                                                             allegations in       plaintiffs']
                                                                             [the plaintiffs']

complaint    determine ifif they
complaint to determine       they plausibly
                                  plausibly suggest an entitlement
                                            suggest an             torelief."
                                                       entitlementto          Iqbal, 556 U.S.
                                                                      relief" IqbøL,556

   681; Wooten
at 681;            Roach,431
        lhooten v. Roach, 431 F.Supp.3d          (8.D. Tex.
                              F.Supp.3d 875, 885 (E.D.      2019); Beeler-Lopez v.
                                                       Tex. 2019);              v.


Dodeka, LLC,711
        LLC, 711 F.Supp.2d
                 F.Supp.Zd 679, 680 (E.D. Tex. 2010).
                           679,680

                       b.
                       b.              joinder based on piercing the pleadings.
                              Improper joinder
                              Improper

         A summary inquiry is appropriate when the face of the pleadings appears to support

joinder, but certain jurisdictional                        omitted. Smallwood,
                     jurisdictional facts are misstated or omitted.            385 F.3d at
                                                                    Smallwood,385

573. Insuch
573.In  suchcases,
             cases,the
                    thecourt
                        courthas  thediscretion
                              hasthe              topierce
                                      discretion to              pleadings and
                                                             thepleadings
                                                     pierce the            and conduct
                                                                               conduct a

summary
summary inquiry in order "to identify
                              identiSz the
                                       the presence of discrete
                                           presence of discrete and
                                                                and undisputed
                                                                    undisputed facts
                                                                               facts that

      preclude plaintiffls
would preclude                      against the in-state defendant." Id. at 573-74;
               plaintiff's recovery against                                 573-74; see also

8.,
B., Inc. v. Miller Brewing
         v. Miller         Co.,663
                   Brewíng Co.,     F.2d 545,
                                663 F.2d 545,551   (5th Cir.
                                              551 (5th  Cir.1981)   (evidentiary hearing
                                                             1981) (evidentiary  hearing

appropriate where
appropriate                partycontends
                  removing party
            where removing                plaintiff s pleadings
                                 contendsplaintiff's   pleadingscontain
                                                                 contain

misrepresentations of jurisdictional
misrepresentations of  jurisdictional fact). Summarily
                                             Summarily stated:
                                                       stated :

                [T]he        may 'pierce
                 [T]he court may  'pierce the             andconsider
                                               pleadings'and
                                           thepleadings'      consider'summary
                                                                         'summary
                judgment-type' evidence in
                judgment-type' evidence           cases in which the 'plaintiff
                                         in those cases               'plaintiff has
                                                                                 has



                                              11
                                              11
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                   stated a claim
                            claim but has misstated
                                          misstated or
                                                     or omitted
                                                         omitted discrete
                                                                 discrete facts
                                                                          facts that would
                   determine the propriety
                                  propriety ofjoinder.'
                                            of joinder.'

Smith               lnc.,2009
Smíth v. Robin Am., Inc.,      WL 2485589,
                          2009 WL             *2 (S.D.
                                  2485589, at *2 (S.D. Tex. Aug. 7,
                                                       Tex. Aug. 7, 2009)   (quoting
                                                                     2009) (quoting

Smallwood);          Badon v. RJR
            see also Badon
Smallwood); see               RJR Nabisco,
                                  Nabísco, Inc., 224 F.3d at
                                           Lnc.,224       at 390;                  Oil
                                                             390; LeJeune v. Shell Oil

Co.,
Co.,950       267,27I
     950 F.2d 267, 271 (5th Cir.
                            Cir. 1992) ("4 court
                                 1992) ("A court is
                                                 is to
                                                    to pierce
                                                       pierce the
                                                               the pleadings
                                                                   pleadings to
                                                                             to determine
                                                                                determine

whether, under controlling state law, the non-removing party has a valid claim against the

non-diverse
non-diverse parties.").

         The removing party may submit evidence
                                       evidence outside
                                                outside the pleadings in order
                                                                         order to establish

that    plaintiff has
that aa plaintiff has no
                      no reasonable
                          reasonable basis  to expect
                                     basis to   expect recovery   from the
                                                        recovery from   the resident
                                                                             resident defendant.
                                                                                      defendant.

Bødon v. RJR
Badon v. RJR Nabisco, Inc., 224 F.3d at
             Nabisco, Inc.,             390.For
                                     at 390. Forexample,
                                                 example,aadefendant
                                                            defendant may
                                                                      may submit
                                                                           submit

affidavits
affidavits and deposition
               deposition transcripts                           petition. B.,
                          transcripts in support of its removal petition. 8., Inc., 663
                                                                                    663 F.2d
                                                                                        F .2d


at
at 549;
   549; Carriere
        Carríere v. Sears, Roebuck
                           Roebuck & Co., 893 F.2d
                                     Co.,893  F.2d 98, 100 (5th Cir.
                                                       100 (5th Cir. 1990). District courts

             summary judgment-type
may consider summary               evidence to
                     judgment-type evidence    identifr "discrete
                                            to identify "discrete facts" that would
                                                                              would

show that aa defendant
             defendant was
                       was improperly  joined. Anderson v. Georgia
                            improperly joined.             Georgia Gulf
                                                                   Gulf Lake
                                                                        Lake Charles,
                                                                             Charles,

LLC,342Fed.         9ll,915-916
LLC, 342 Fed. Appx. 911, 915-916 (5th
                                 (5rh Cir. 2009); Smith,      wL 2485589 at
                                                         2009 WL
                                                  Smíth,2009             at*2.
                                                                            *2.

                           l2(bx6) standard, itit is clear that Plaintiff
         Applying the Rule 12(b)(6)                             Plaintiff has no reasonable
                                                                                 reasonable basis

for recovering on her claims against Splashes.
                                     Splashes.

                   2,
                   2.     Splashes    improperly joined.
                          Splashes is improperly

         Plaintiff alleges the Subject Vehicle was taken to Splashes
                                                            Splashes "for aa safety
                                                                             safety inspection
                                                                                    inspection

              3000miles
approximately 3000
approximately            beforethe
                   milesbefore  the accident
                                    accidentand
                                             andthe   rear tire
                                                 the rear   tire tread depth was at a
                                                                       depth was

dangerous and unacceptable
dangerous and unacceptable Ievel."24  Plaintiffmaintains
                            level."' Plaintiff  maintains Arren
                                                          Arrenlost
                                                                lostcontrol
                                                                     control of
                                                                             of the
                                                                                 the Subject
                                                                                     Subject



24 Ex. A-2,
24 Ex.A-z,n6.1
          ¶ 6.1.

                                                 t2
                                                 12
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Vehicle     to "weather
Vehicle due to "weather conditions     tire wear."25
                        conditions and tire          Plaintiffalleges
                                            wear."25Plaintiff  alleges"Splashes
                                                                       "splashes was
                                                                                 was

negligent
negligent in that:

                  a.
                  a      they failed to properly inspect
                                                 inspect the tread depth and warn of
                         danger.

                  b.
                  b.     they failed to inform
                                        inform decedent
                                               decedent of family that the tread
                                                                           tread depth
                                                                                 depth
                         was in a dangerous condition.

                  c.
                  a      they failed   to require
                               failed to   require the  tirebe
                                                   the tire  bereplaced
                                                                 replacedor orsuggest
                                                                                suggest
                         replacement
                         replacement to decedent and or the family allowing
                                                                   allowing the vehicle
                         back  onthe
                         back on  theroad."26
                                      road."'

                                               perfonn a proper inspection
In addition, Plaintiff alleges "the failure to perform          inspection and
                                                                           and discover
                                                                               discover the

worn tread was a breach of the implied
                               implied warranty of good and
                                                        and workmanlike performance of
                                                            workmanlike performance
          ¡¡27
services."27
servlces.

           Plaintiff does not allege Splashes altered or modified any tire on the Subject
                                                                                  Subject Vehicle
                                                                                          Vehicle

and that alteration/modification
         alteration/modification contributed
                                 contributed to
                                             to the
                                                the accident. She
                                                              She only
                                                                  only alleges
                                                                       alleges that Splashes
                                                                                    Splashes

had the opportunity
        opportunity to discover
                       discover and             supposedly low
                                and warn of the supposedly low tread. Plaintiff
                                                                      Plaintiff alleges
                                                                                alleges

         conduct by omission
tortious conduct             rather than
                    omission rather                        is important
                                     than commission. This is  important because, as a

matter of law, there is no
                        no claim
                           claim for
                                 for negligently
                                     negligently servicing
                                                 servicing a vehicle that does not alter or

modiff the product.
modify




25
25  Id., ¶ 4.4.
    1d.,n4.4.
 26(d.,n61.
26  Id.,116.1.
'27Id.,¶6.2.
    Id.,n6.2.

                                                 l3
                                                 13
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                       a.                    no reasonable
                               Plaintiff has no reasonable probability  of recovery
                                                            probability of recovery
                               on her negligent servicing claims.

         In the context of removal,
                context of removal, courts in the
                                    courts in  theSouthern District have
                                                  Southern District have repeatedly  denied
                                                                          repeatedly denied

motions to remand when the only
                           only claim
                                claim against
                                      against the
                                              the in-state
                                                   in-state defendant
                                                            defendant was for supposed
                                                                      was for supposed

negligent servicing of a product. This
                                  This Court
                                       Court held               July
                                             held the same last July.

               Courts
               Courts have   repeatedly rejected Texas
                        have repeøtedly                       state-law cløims
                                                     Texus støte-løw              øgøinst post-
                                                                         claims against    post-
               sale providers for
               søle províders   for negligent
                                    neglígent maintenance,
                                                møintenønce, repair, and          service. See
                                                                            ønd service.
               Selexman v. Ford Motor
               Selexman              Motor Co.,
                                              Co., No. CIV.A.
                                                     No.   CIV.A.     H-14-1874,
                                                                     H-14-1874,      2014   WL
                                                                                      2014 WL
               6610904,       *4
               6610904, at *4 (S.D.             Nov. 20,
                                  (S.D. Tex. Nov.       20, 2014)     ("Texas law
                                                              20L4) ("Texas      law does    not
                                                                                       does not
               impose a duty on aa post-sale
                                    post-sale automobile
                                               automobile servicer         detect pre-existing
                                                               servicer to detect
               design defects              routine visit
                        defects during a routine             for maintenance
                                                     visit for    maintenance or  or repairs.");
                                                                                      repairs.");
                                       Polarís Indus.,
               State Farm Lloyds v. Polaris      Indus.,1nc.,          CIV.A. 6-12-19,
                                                           Inc., No. CIV.A.     6-12-19,2012
                                                                                           2012
               WL 3985128,
                    3985128,at    *3
                               at *3 (S.D.
                                     (S.D. Tex. Sept. 11, lI,20L2)
                                                               2012) (dismissing aapost-sale
                                                                                       post-sale
               failure-to-warn negligence claim against a servicing dealer); Rubin v.
               failure-to-warn
                                               CIV.A.}ì044021,2005
               Daimlerchrysler Corp., No. CIV.A.         H044021, 2005 WL    WL 1214605,
                                                                                   1214605, at
               89 (S.D. Tex. May 20,
               *9                    20,2005)
                                        2005) (dismissing
                                                 (dismissing negligence claims based on
               routine
               routine post-sale service). InIn short,
                                                 short, Texas
                                                        Texas lawlaw does   not impose
                                                                      does not  impose a duty
               on post-sale   servicing companies like
                   post-sale servicing                         Brookside to warn about an
                                                        like Brookside                        an
               alleged product defect. SoSo the
                                              the Garcias
                                                   Garcias have
                                                              have no reasonable
                                                                        reasonable chance of
               recovery against Brookside for their state-law negligence claims.

Garcia            Co.,3:20-CY-0095,2020WL4192894,at
       v. Deere & Co.,
Garciav.                                                 *2 (S.D. Tex. July 21,
                       3:20-CV-0095, 2020 WL 4192894, at *2                 21,2020);
                                                                                2020);

see
see id.    *3 (denying remand motion) (emphasis added).
    íd. at *3

            Rubin, Judge Rosenthal
         In Rubìn,                          plaintiff failed to state aa claim
                         Rosenthal held the plaintiff                           for negligent
                                                                         claim for  negligent

servicing,                motion to remand,
servicing, and denied his motion    remand, because
                                            because he did not
                                                    he did notallege   thedefendant
                                                               allege the  defendant

negligently
negligently performed service
                      service work that altered the vehicle.
                                                    vehicle.

               Rubin did not allege                                     oomanufactured"
                                allege that the
                                            the in-state
                                                 in-state defendants
                                                           defendants "manufactured" the
               1999
                1999 Jeep
                      Jeep or that any of the service
                                               service performed
                                                        performed by Crown Jeep Jeep altered
               the vehicle
                    vehícle so as to cause
                                       cøuse the accident.
                                                  øccident. Rather,     Rubin alleged
                                                              Røther, Rubin     alleged only
               thsl the
               that  theroutine
                           routineservice      performed by
                                     service performed       bythe
                                                                 thein-state
                                                                       in-støtedefendants
                                                                                 defendønts
               provided them an  an unused   opportanity to warn
                                     unused opportunity               øbout the propensity
                                                               worn about         propensity
               of the  gear shift to appear
                                      øppear to
                                              to be  in "park"
                                                 be in   "pørk" when itit was  in "reverse."
                                                                          was in   "FeveFSe."
               Rubin did not allege facts or or aalegal
                                                   legal theory
                                                          theory that would permit the in-
                       defendants to
               state defendants
               state                     beliable
                                     to be   liableunder
                                                      understate      lawfor
                                                               statelaw     fornegligently
                                                                                 negligently

                                                  t4
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               performing service
                            service work that altered the design on manufacture of the
               gear shift lever and contributed
                                    contributed to cause the accident.

            WL 1214605,
       2005 WL
Rubín,2005
Rubin,                  at*9;
               1214605, at     íd. at
                           *9; id.     *11 (denying
                                   at. *11  (denying motion to remand
                                                     motion to remand and
                                                                      and concluding
                                                                          concluding

removing defendants
         defendants showed plaintiff had no reasonable basis of recovery
                                                                recovery against in-state

defendants).
defendants).

         In Polaris Indus., Inc., aa subrogation
                                     subrogation case, the plaintiff sued an
                                                                          an out-of-state
                                                                             out-oÊstate ATV

manufacturer
manufacturer after  the ATV
             after the      caught fire
                        ATV caught  fire and
                                         and destroyed
                                             destroyedthe  insured's home.
                                                       theinsured's  home. The
                                                                           The plaintiff

also sued an in-state servicer of
                               of the vehicle, contending it was negligent in failing to fix an

        defect.The
alleged defect. Themanufacturer
                   manufacturer removed
                                 removed the
                                          the case
                                               case contending
                                                    contending the
                                                               the service provider was
                                                                   service provider

improperly joined.
improperly  joined. Judge
                    Judge Costa                   the plaintiff
                          Costa agreed and denied the plaintiffss motion
                                                                  motion to
                                                                         to remand.
                                                                            remand.

               State Farm has       not alleged
                               has not             that Bosart
                                         alleged that   Bosart altered   the Ranger
                                                                 altered the  Ranger oror
               contributed to
               contributed    to the cause
                                     cause   of
                                            of   the
                                                the accident.
                                                     accident. State
                                                               State  Farm's
                                                                     Farm's  allegations
                                                                              allegations
               constitute little more than the "unused opportunity to warrl"
                                                                        warn" that failed
               to state a viable claim in Rubin.

Polaris Indus., Inc.,2012
Polarís Indus., Inc., 2012 WL           at*3
                           \ML 3985128, at *3.

         InAguílar
         In Aguilar v. Michelin Tire N. Am., Inc.,SA;16-CV-048-DAE,
                                Tíre N.      Inc., SA:16-CV-048-DAE, 2016 WL 10519132
                                                                             10519132

   *1 (W.D.
at *1
at     (W.D.Tex. Mar.23,2016),
            Tex. Mar. 23, 2016), the  plaintiff sued
                                  the plaintiff  sued the
                                                       theout-of-state
                                                           out-of-state manufacturers
                                                                        manufacturers of a

vehicle and its tires, after the tread
                                 tread separated on one of
                                                        of the
                                                           the tires
                                                                tires resulting  in aa rollover.
                                                                      resulting in      rollover. The

plaintiff also
          also sued several
                    several in-state
                            in-state tire shops, alleging negligent service
                                                                    service and
                                                                            and failure to warn

   the tire's condition. Id.
of the                   Id. The vehicle
                                 vehicle manufacturer
                                         manufacturer removed the case, contending the tire

           improperly joined.
shops were improperly          Id. The plaintiff moved
                       joined. Id.               moved to
                                                       to remand
                                                          remand the        Relying on
                                                                  the case. Relying on

Rubin
Rubin and
      and Polaris, Judge Ezra denied the remand request.


               .. ... .Plaintiff
                        Plaintiffhas  notalleged
                                  hasnot   allegedanyanyfacts        theTexas
                                                                thatthe
                                                         factsthat       TexasDefendants
                                                                                  Defendants
               modified the Vehicle's tires in any
               modified                            any way.   Instead,Plaintiff
                                                       way. Instead,   Plaintiffss allegations
                                                                              oowarn of any
               amount only to aa failure        toinspect,
                                       failure to   inspect, discover,
                                                             discover, and "warn       of any

                                                 l5
                                                 15
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                defective or dangerous condition"
                                         conditioÍl" or a failure to "recommend
                                                                      'orecommend that the
                tire be taken
                        taken out  of service."
                               out of  service." Based
                                                 Based onon these
                                                             theseallegations,    the Court
                                                                     allegations, the Court
                finds the reasoning
                           reasoning in Polaris is analogous
                                                     analogous to this     case; Plaintiffs
                                                                      this case; Plaintiff's
                allegations
                øllegalions essentially  ømount to a
                             essenliølly amount        failure to warn of latent defects
                                                     ø føilure
                based
                bøsed  on the
                          lhe tire's age or
                                     uge or recommended       inflølion levels.
                                                             inflation
       *4 (citations omitted) (emphasis
Id. at *4                     (emphasis added).

         Plaintiff does not allege that Splashes                                 the Subject
                                        Splashes altered or modified any tire on the Subject

Vehicle and that such alternation/modification
                      alternation/modification contributed
                                               contributed to
                                                           to the
                                                              the accident.
                                                                  accident. Plaintiff asserts

the exact type of negligent servicing
                            servicing claim that federal courts routinely
                                                                routinely hold fails to state a

claim against an in-state service provider. Plaintiff
                                            Plaintiff has
                                                      has no
                                                          no reasonable
                                                              reasonable basis  for recovery
                                                                         basis for  recovery

against Splashes
        Splashes on her negligence claims.

                       b.      Plaintiff has no reasonable  probability of
                                                reasonable probability   of recovery
                                                                            recovery
                               on her claim for breach of     '6implied warranty of
                                                       of the "implied
                               good and workmanlike
                                          workmanlike performance of services."
                                                                        seryices."

         Plaintiff also fails to state aacognizable
                              to state               claim against
                                          cognizable claim against Splashes        claim for
                                                                               her claim
                                                                   Splashes on her       for

       of the
breach of       "implied warranty
           the "implied           ofgood
                         warranty of goodand
                                          andworkmanlike              of services."
                                                          performance of
                                              workmanlike performance     services."

Plaintiff actually misstates
                   misstates what the implied warranty is.
                                      implied warranty is. ItIt is
                                                                 is not
                                                                    not just an
                                                                             an implied
                                                                                implied warranty

   good and
of good and workmanlike performance of services
            workmanlike performance             generally that
                                       services generally      applies to any type of
                                                          that applies

service.
service. Rather,
         Rather, the
                  the Supreme
                      Supreme Court
                              Court of
                                    of Texas
                                       Texas recognizes
                                             recognizes "an
                                                        "an implied
                                                            implied warranty to repair
                                                                                repøir or

modify existing tangible goods or property in a good and
                                                     and workmanlike
                                                         workmanlike manner".
                                                                     manner". Melody

Home Mfg. Co. v.
              v. Barnes,
                 Barnes, 741 S.W.2d 349, 354
                             S.W.2d 349,      (Tex.1987)
                                         354 (Tex.        (emphasis added);
                                                    1987)(emphasis   added); see

Parkway        Woodrffi 901 S.W.2d
Parkway Co. v. Woodruff             434,438-39
                            S.V/.2d 434,        (Tex. 1995)
                                         438-39 (Tex. 1995) (same);
                                                            (same); Archìbald
                                                                    Archibald v. Act

    Arabians,755
III Arabians, 755 S.W.2d 84, 85-86  (Tex. 1988)
                             85-86 (Tex.   1988) (same);                     Car Wash
                                                                          v. Car
                                                  (same); see also Rogers v.     Wash

Partners, Inc., CV                 WL 6526013,
                CY H-18-4181, 2019 WL 6526013, at *4 (S.D.
                                               at *4 (S.D. Tex. Dec. 3, 2019) (same).




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           Plaintiff does not allege that Splashes repaired or modified
                                                               modified any tire on the
                                                                                    the Subject
                                                                                        Subject

Vehicle.
Vehicle. For
          Forher
              herimplied
                  implied warranty
                          warranty claim,
                                    claim, she  only complains
                                            she only complains Splashes
                                                               Splashes failed
                                                                        failed "to perform

   proper inspection
aa proper            and discover
          inspection and             worntread
                                  theworn
                         discoverthe                        Plaintiffmerely
                                          tread . . . ."28 Plaintiff merelyrestates
                                                                            restates her
                                                                                     her

          servicing claim as a warranty claim. But
negligent servicing                            But the
                                                    the Supreme
                                                        Supreme Court
                                                                Court of
                                                                      of Texas
                                                                         Texas holds that

this duty only applies when a defendant has repaired or modified
                              defendant has             modified existing
                                                                 existing tangible
                                                                          tangible property.
                                                                                   property.

Melody
Melody Home Mfg. Co., 741 S.W.2d
                 Co.,741  S.W.2 d at
                                  at354.          Plaintiff does
                                     354. Because Plaintiff does not allege that Splashes
                                                                                 Splashes

repaired or modified the Subject
                         Subject Vehicle, she has no reasonable basis for recovery against

Splashes on her warranty claim.

           In short,
              short, Plaintiff cannot recover against Splashes on any of her claims against it.

Plaintiffhas
Plaintiff     improperly joined Splashes
          has improperly        Splashes and its citizenship
                                                 citizenship is not considered
                                                                    considered in determining

        diversity jurisdiction exists.
whether diversity

                     3.          forum defendant
                            The forum             rule is
                                        defendant rule  is inapplicable
                                                            inapplicable because
                                                                         because Splashes
                                                                                 Splashes was
                            not properly joined.

           Under the "forum defendant rule," 28
                                             28 U.S.C.
                                                U.S.C. §$ 1441(b)(2),
                                                          1441(bX2), a suit cannot be removed

if one of the defendants,
              defendants, who is properly joined and served, is aa citizen
                              is properly                          citizen of the state where

        filed. Specifically,
suit is filed.  Specifically, the
                               the statute
                                   statute provides:
                                           provides

                     A civil
                     A   civil action
                                actionotherwise                   solelyon
                                                     removable solely
                                        otherwise removable               on the        of the
                                                                             the basis of   the
                     jurisdiction
                     jurisdiction under section
                                          section 1332(a)
                                                   1332(a) of this title may not be removed
                                                                                    removed ifif
                     any of the parties in interest  properly joined and served
                                            interest properly             served as defendants
                                                                                    defendants
                     is a citizen of the State
                                         State in which such action is brought.

28 U.S.C. §$ 1441(b)(2)
             1441(bX2) (emphasis
                        (emphasis added);
                                  added); see
                                          see Texas Brine Co.,
                                              Texas Brine Co., L.L.C. v. Am. Arbitration
                                                                             Arbítratíon

Ass 'n, Inc., 955 F.3d
Ass'n,                  482,486
                  F .3d 482,     (5th Cir.
                             486 (5th Cir. 2020) (holding that forum
                                           2020) (holding      forum defendant
                                                                     defendant rule did not




28
28   Ex. A-2,\
     Ex.A-2, 116.2
               6.2

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                      properly joined and served defendant was not
bar removal when only properly                                 not aacitizen
                                                                     citizen of the forum

state); Breitweiser
        Breitweiser v. Chesapeake Energy  Corp.,3:15-CY-2043-8,
                                  Energ,t Corp., 3:15-CV-2043-B,2015
                                                                 2015 WL 6322625, at

*4 (N.D. Tex. Oct. 20,
*4                                            o'section 1441(b)(2)
                       2015) (concluding that "section  l44l(b)(2) requires service before
                   20,2015)

                                    forum-defendant rule purposes").
a forum defendant is considered for forum-defendant

          As shown
             shown above,           improperly joined
                   above, Plaintiff improperly  joined Splashes. Accordingly, the
                                                       Splashes. Accordingly, the forum
                                                                                   forum

defendant rules does not preclude removal
defendant                         removal here.

                                             ilI.
                                             III.
                                      R EMOVAL IS TIMELY
                      KMA'S NOTICE OF REMOVAL

          Because
          Because the amount
                      amount in controversy exceeds $75,000, and there is complete diversity

of citizenship between Plaintiff
   citizenship between Plaintiff and KMA, KMA
                                 and KMA, KMA is entitled
                                                 entitled to remove this case to the

                             for the
United States District Court for  theSouthern
                                      Southern District  ofTexas,
                                               District of  Texas,Galveston  Division.
                                                                   Galveston Division.

Removal is timely sought                               within thirty (30) days of KMA
                  sought because KMA filed this notice within

          service of suit.29
receiving service    suit.2eSee  28 U.S.C.
                             See 28 U.S.C. §$1446(b);   Feo. R. Civ.
                                              1446(b); FED.          P.6(a)(1)(C).
                                                                CIv. P. 6(aX1XC).

Additionally, it has been less than one year since
                                    one year        this action
                                             since this  action was originally commenced.
                                                                was originally commenced.

See 28 U.S.C. §$ 1446(c).
See28            1aa6(c).

                                           IV.
                                       CONCLUSION

          For the reasons
                  reasons stated
                          stated above, Kia Motors
                                 above, Kia        America, Inc.
                                            Motors America, Inc. respectfully
                                                                 respectfully removes this

                           it from
action now pending against it  from the  239th Judicial
                                     the239th            District Court,
                                                Judicial District Court, Brazoria
                                                                         Brazoria County,
                                                                                  County,

Texas, to this Honorable
               Honorable Court for trial and determination of all issues.
                                                                  issues.




2e See
29      Ex. A-7.
     SeeEx. A-7

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                                               Respectfu lly submitted,
                                               Respectfully

                                               /s/ Davíd
                                                   DavidR.R. Mon as
                                               David M.
                                                      M. Prichard
                                                          Prichard — Lead Counsel
                                                                   - Lead
                                               State Bar No. 16317900
                                                              16317900
                                               S.D. Tex. ID No. 0616
                                               Email : dprichard@phrichardyounglIp.com
                                               Email:   dprichard@phrichard),oungllp.com

                                               Daniela Gonzales
                                                       Gonzáles Aldape
                                               State Bar No.
                                               State Bar No. 24036651
                                                             24036651
                                               S.D. Tex. ID No. 39025
                                               Email: daldape@prichardyounglIp.com
                                               Email:  daldape@prichardyoungllp.corn

                                               David R. Montpas
                                                          Montpas
                                               State Bar No. 00794324
                                               S.D. Tex.
                                                    Tex. ID No. 25667
                                               E mail:: dm
                                               Ernail      onipas@pr chard), oungI
                                                        dmontpas@,prichardyoun     1p.com
                                                                                gllp. corn

                                               PRICHARD YOUNG
                                                            YOLING LLP
                                               10101  Reunion Place, Suite
                                               10101 Reunion         Suite 600
                                               San Antonio, Texas 78216
                                               (210) 477-7400
                                                     477-7400 — Telephone
                                                              - Telephone
                                               (210) 477-7450
                                                     477-7450 —
                                                              - Facsimile
                                                                Facsimile

                                               ATTORNEYS FOR DEFENDANT
                                               ATTORNEYS
                                               KIA MOTORS AMERICA,
                                               KIA        AMERICA, INC.


                                    CERTIFICATE OF SERVICE
                                    CERTIFICATE

                  certi$'that
       This is to certify that the foregoing
                                   foregoing has been served in
                                                              in accordance
                                                                 accordance with the Federal
                                                                                      Federal
Rules of Civil Procedure
               Procedure this   22nd day of January 2021, to the following
                           this22nd                              following counsel of record:
                                                                                   ofrecord:

           Joseph E. Ritch
           iritchacIliottritch.com
           jritch@elliottritch.com
           Stephen J. Chapman
                       Chapman
           schapmanajeltiouriteh.com
           s chapman
                      @el I i ottritch. corn
           Elliott and Ritch, LLP
           321 Artesian Street
                          Street
           Corpus Christi, TX 78401 78401

                                               /s/ David
                                                   David R. Montpas
                                               David R. Montpas
                                                         Montpas

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